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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

   AMERICAN FEDERTION OF
   STATE, COUNTY AND
   MUNICIPAL EMPLOYEES, AFL-
   CIO, et al.
       Plaintiffs,
                                                          Civil Action No. ELH-25-0596
       v.

   SOCIAL SECURITY
   ADMINISTRATION, et al.
       Defendants.



                                            ORDER

       Having considered “Defendants’ Motion To File Administrative Record [of the Social

Security Administration] Under Seal” (ECF 85, the “Motion”), it is this 2nd day of April 2025, by

the United States District Court for the District of Maryland, hereby ORDERED that Defendants’

Motion is GRANTED, subject to the following conditions:

   1. By April 4, 2025, plaintiffs may move to rescind this Order as improvidently granted;

   2. Upon review of the Administrative Record, the Court may rescind this Order if it

       determines that sealing is unnecessary, unwarranted, or improper;

   3. Upon review of the Administrative Record, the Court may determine that redaction is

       feasible and warranted. In that circumstance, the Court will require the defendants to file

       a redacted version of the Administrative Record.




                                                              /s/
                                                    Ellen Lipton Hollander
                                                    United States District Judge
